Case 3:12-cr-00171-FAB Document 93 Filed 01/09/15 Page 1 of 18
Case 3:12-cr-00171-FAB Document 93 Filed 01/09/15 Page 2 of 18
Case 3:12-cr-00171-FAB Document 93 Filed 01/09/15 Page 3 of 18
Case 3:12-cr-00171-FAB Document 93 Filed 01/09/15 Page 4 of 18
Case 3:12-cr-00171-FAB Document 93 Filed 01/09/15 Page 5 of 18
Case 3:12-cr-00171-FAB Document 93 Filed 01/09/15 Page 6 of 18
Case 3:12-cr-00171-FAB Document 93 Filed 01/09/15 Page 7 of 18
Case 3:12-cr-00171-FAB Document 93 Filed 01/09/15 Page 8 of 18
Case 3:12-cr-00171-FAB Document 93 Filed 01/09/15 Page 9 of 18
Case 3:12-cr-00171-FAB Document 93 Filed 01/09/15 Page 10 of 18
Case 3:12-cr-00171-FAB Document 93 Filed 01/09/15 Page 11 of 18
Case 3:12-cr-00171-FAB Document 93 Filed 01/09/15 Page 12 of 18
Case 3:12-cr-00171-FAB Document 93 Filed 01/09/15 Page 13 of 18
Case 3:12-cr-00171-FAB Document 93 Filed 01/09/15 Page 14 of 18
Case 3:12-cr-00171-FAB Document 93 Filed 01/09/15 Page 15 of 18
Case 3:12-cr-00171-FAB Document 93 Filed 01/09/15 Page 16 of 18
Case 3:12-cr-00171-FAB Document 93 Filed 01/09/15 Page 17 of 18
Case 3:12-cr-00171-FAB Document 93 Filed 01/09/15 Page 18 of 18
